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                                UNITED STATES DISTRICT
                          COURT WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


UNITED STATES OF AMERICA                                                                      PLAINTIFF


    v.                                                   CRIMINAL ACTION NO. 3:19-CR-20-CRS


VICTOR MANUEL QUIJADA-CASTILLO                                                             DEFENDANT


                            MEMORANDUM OPINION AND ORDER


          This matter is before the Court on motion of the defendant, Victor Manuel Quijada-

Castillo, pro se, for reconsideration of the Court’s denial of his motion for compassionate

release. DN 93. The United States has responded, objecting to the motion. DN 97. For the

reasons stated herein, the motion will be denied.

           Quijada-Castillo is presently serving a 120-month sentence for drug trafficking. He is

    confined at the Federal Correctional Institution (“FCI”) Victorville II. On September 12, 2020,

    the defendant filed a request for compassionate release with Warden Gutierrez who denied his

    request on March 3, 2021. (DN 91-3). In December 2020 while his request for compassionate

    release was pending, Quijada-Castillo contracted COVID-19 purportedly from a staff member.

    DN 87, p. 3. He claims that he suffers after-effects of the illness “such as shortness of breath,

    exhaustion, general fatigue, and piercing pain in the lungs.” DN 93, p. 3.1 He fears the

    possibility of reinfection from the Delta variant. DN 93, p. 4.




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  Quijada-Castillo did not provide medical records in support of either his original motion or his motion to
reconsider the Court’s ruling.
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            First, the motion for reconsideration was filed sixty-nine days after the Court denied his

initial motion. As a motion for reconsideration must be filed within fourteen days from the

date of entry of the Court’s order (see United States v. Brown, 817 F.3d 486, 488 (6th Cir.

2016), Quijada-Castillo’s motion is for reconsideration is untimely and should be denied on

that basis alone.

        Further, Quijada-Castillo raises the same arguments made in his prior motion. The same

reasoning for denying the original motion articulated in the Court’s earlier opinion (DN 92) still

applies. We need not recount those reasons here.

        There is no indication that defendant’s health situation has changed for the worse. In

fact, he stated that at this time “symptoms have diminished, but the side effects continue.” DN

93, p. 3.

        Quijada-Castillo urges that the Court should not have considered the fact that he is fully

vaccinated in the analysis because he contends there is evidence that the COVID-19 vaccines

may not be as effective in obese individuals. He cites to the case of United States v. Clough

from the Southern District of Indiana. DN 93, pp. 3-4. We find this worth mentioning because

this case does not support his statement. In fact, defendant Clough, a 60-year-old male with

hypertension, obesity, and type 2 diabetes mellitus, was denied compassionate release for many

of the same reasons this Court denied Quijada-Castillo’s motion. See United States v. Clough,

No. 2:14-cr-11-JPH-CMM-02, 2021 WL 1394107 (S.D.Ind. Apr. 12, 2021).                      Further, in

addition to being vaccinated, Quijada-Castillo also had COVID-19 from which he likely

developed some level of additional immunity. See United States v. Smith, No. 10-20388, 2021

WL 3077879, *2 (E.D.Mich. July 21, 2021)(discussing development of antibodies in recovered

COVID-19 patients and exposure to variant viruses).


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       Finally, Quijada-Castillo cites a plethora of COVID-19-related compassionate release

cases to support his argument that he too should receive compassionate release. The vast

majority of them were decided in mid- to late-2020 at the height of the pandemic and before

vaccines were available. Due to the ever-changing COVID-19 landscape, many of the 2020

cases are no longer relevant to current compassionate release motions. While the coronavirus is

far from eradicated, many thousands of inmates have been vaccinated, 229,171 in the federal

prison system at last report, and many of the federal institutions have had success in bringing

outbreaks of COVID-19 infections under control. See https://www.bop.gov/coronavirus/. The

dire and dangerous circumstances faced by our most vulnerable populations at the height of the

pandemic are, we hope, behind us.

       Even so, we cannot know with certainty what COVID-19 and its variants have in store

for us. However, as stated in our earlier opinion, the Court must address each inmate’s situation

individually and in the current context.

       Clearly, many 2020 cases are not reflective of the current situation and thus are of little

value in a late-2021 analysis. Indeed, as of this writing, the Bureau of Prisons reports 6

COVID-19-positive inmates in a population of over 1,000 at FCI Victorville II where Quijada-

Castillo is serving his sentence.     The Victorville prison complex as a whole reports the

vaccination of 3,012 inmates and 424 staff. Id. This is a far cry from where the federal prison

system was a year ago.

       Nor can the Court base its decision on events yet to be realized. See United States v.

Constantine, No. 18-20655, 2021 WL 4487966, **3-4 (Oct. 1, 2021)(noting the evolution in

“extraordinary and compelling” reasons analysis over the course of the COVID-19 pandemic).




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       Therefore, motion having been made and for the reasons set forth herein and the Court

being otherwise sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that the

motion of Defendant Victor Manuel Quijada-Castillo for reconsideration of the Court’s denial

of compassionate release (DN 93) is DENIED.




                        October 12, 2021




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